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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
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    TERRENCE EDWARDS,

                                  Movant,                       5:05-CV-0965
                                                           Related Criminal Case:
           vs.                                                  5:03-CR-0243
                                                                   (NAM)
    UNITED STATES OF AMERICA,

                            Respondent.
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    ____________________________________________

    APPEARANCES:                                 OF COUNSEL:

    Terrence Edwards
    12181-052
    U.S. Penitentiary Big Sandy
    P.O. Box 2068
    Inez, KY 41224
    Movant, Pro Se
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    P.O. Box 7198
    100 S. Clinton Street
    Syracuse, NY 13261-7198
    Attorney for Respondent

    Norman A. Mordue, Chief U.S. District Judge
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                                       DECISION AND ORDER

            On February 24, 2004, petitioner Terrence Edwards pleaded guilty before this Court to

    the First Count of the Superceding Indictment returned against him by a federal grand jury which

    charged him with conspiracy to engage in a pattern of racketeering activity contrary to 18 U.S.C.

    § 1962(d). See United States v. Edwards, No. 03-CR-0243, Dkt. No. 256. Edwards was

    thereafter sentenced by this Court to a term of imprisonment of 100 months, to be followed by a

    four year term of supervised release. Id., Dkt. No. 562.
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           On August 1, 2005, Edwards filed a Motion to Vacate, Set Aside or Correct his sentence

    pursuant to 28 U.S.C. § 2255. See Edwards v. United States, No. 05-CV-0965. The only claim

    asserted as a ground for relief in that application is Edwards’ claim that his trial attorney rendered

    ineffective assistance of counsel because he failed to file a notice of appeal on behalf of Edwards.

    See Motion to Vacate, Ground One.

           The record establishes, however, that on December 31, 2004, counsel did, in fact, file a

    notice of appeal on Edwards’ behalf. See United States v. Edwards, No. 03-CR–0243, Dkt. No.
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    559. That appeal was thereafter dismissed by the Second Circuit in light of the valid appellate

    waiver Edwards executed along with his guilty plea in the underlying criminal action. See United

    States v. Edwards, No. 05-6971-cr (2d Cir. Oct. 2, 2006).

           Since the sole ground asserted by Edwards in support of his Motion to Vacate is clearly

    refuted by the objective, record evidence, the present Motion to Vacate is denied and dismissed
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    with prejudice.

           WHEREFORE, it is hereby

           ORDERED that Edwards’ Motion to Vacate (05-CV-0965, Dkt. No. 1) is DENIED and

    this action is DISMISSED WITH PREJUDICE, and it is further

           ORDERED, that the Clerk of the Court serve a copy of this Order on the parties by
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    regular or electronic mail.

    IT IS SO ORDERED.

    Dated: March 4, 2008




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